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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


VALERIE KLOOSTERMAN,

              Plaintiff,
                                                         No. 1:22-cv-00944-JMB-SJB
      v.                                                 Hon. Jane M. Beckering

METROPOLITAN HOSPITAL, d/b/a University
of Michigan Health-West, et al.,

              Defendants.


                            CERTIFICATE OF CONCURRENCE

      In accordance with Western District of Michigan Local Civil Rule 7.1(d), counsel for

Plaintiff contacted Defendants’ counsel by email on May 26, 2023, to request concurrence

regarding Plaintiff’s Motion for Leave to File a Reply in Support of Plaintiff’s Motion to Amend

the Corrected First Amended Complaint (“Motion for Leave”). Counsel for Defendants oppose

the motion.


Respectfully submitted on the 26th of May, 2023,

s/ Kayla A. Toney
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